DocuSign Envelope ID: 586F2536-E851-40CE-A7E5-2D9864699089                FTXCreditor (https://ftxcreditor.com)


      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF DELAWARE



       In re:                                                Chapter 11
       FTX TRADING LTD., et al.,                             No. 22-11068 (JTD)
       Debtors                                               (Jointly Administered)

                          TRANSFER OF CLAIM OTHER THAN FOR SECURITY


     A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
     hereby gives evidence and notice pursuant to Rule 3001(e)(2) of the Federal Rules of Bankruptcy
     Procedure of the transfer, other than for security, of the claim referenced in this evidence and notice


       Name of Transferor:                                   Name of Transferee:
                                                             Wireless Mouse I, LLC
       Name and Current Address of Transferor:               Name and Address where notices and payments
                                                             to transferee should be sent:
       Address:                                              Address:
                                                             Wireless Mouse I, LLC
                                                             Lingtong Sun
                                                             2120 University Avenue
                                                             Berkeley, CA - 94704


                                                             contact@transformerlabs.xyz



       Claim No./Schedule             Creditor Name          Amount                     Debtor

       Kroll Schedule                                        Described on Schedule FTX Trading Ltd (22-
                                                             F                     11068)
       221106805406692
       Debtor Schedule F No:                                     escribed on Schedule   FTX Trading Ltd (22-
       00585096                                              F                          11068)
       Claim Numbers: 32036,
       93948




                                                                                         Transfer Agreement
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      I declare under penalty of perjury that the information provided in this notice is true and correct to the
      best of my knowledge and belief.



     By:
     Transferee / Transferee’s Agent

      Date: 12/09/2023




                                                                                        Transfer Agreement
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                                                  Identity of Transferor

     Transferee has in its possession an Evidence of Transfer signed by the Transferor.

     To protect the identity of the Transferor, Transferee has not disclosed the Transferor’s name or address,
     and has not attached the signed Evidence of Transfer to this Notice of Transfer of Claim.

      Upon written request, Transferee is prepared to provide a copy of the signed Evidence of Transfer to the
      Bankruptcy Court, the Debtors, and appropriate professionals.




                                                                                      Transfer Agreement
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                                 EVIDENCE OF TRANSFER OF CLAIM

     TO: Clerk, United States Bankruptcy Court, Southern District of New York, for good and valuable
     consideration, the receipt and sufficiency of which are hereby acknowledged,
     has unconditionally and irrevocably sold, transferred and assigned to Wireless Mouse I, LLC, its
     successors and assigns, all right, title and interest in and to the claim(s) identified below, against FTX
     Trading LTD et al.

       Schedule F Claim #:                                   00585096
       Claim Amount:                                         as detailed on Schedule F

      Seller hereby waives any notice or hearing requirements imposed by Rule 3001 of the Federal Rules of
      Bankruptcy Procedure, and stipulates that an order may be entered recognizing this Evidence of Transfer
      of Claim as an unconditional assignment and Buyer as the valid owner of the claim.

     You are hereby requested to make all future payments and distributions, and to give all notices and other
     communications in respect of the claim, to Buyer.


                 12/10/2023
      Date:


       BUYER:                                                           SELLER:
       Wireless Mouse I, LLC




       Name: Lingtong Sun                                               Name:
       Email: contact@transformerlabs.xyz                               Email:




                                                                                         Transfer Agreement
